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             3      Telephone: 530.759.0700
                    Facsimile: 530.759.0800
             4
                  Attorney for Defendant
             5    MICHAEL WAYNE BLANCHE
             6

             7
                                              IN THE UNITED STATES DISTRICT COURT
             8
                                           FOR THE EASTERN DISTRICT OF CALIFORNIA
             9
                                                         SACRAMENTO DIVISION
            10

            11
                 UNITED STATES OF AMERICA,                          ) Case No. CR.S 05-00243 WBS
            12                                                      )
                                                Plaintiff,          ) STIPULATION AND [PROPOSED]
            13                                                      ) ORDER TO CONTINUE SENTENCING
                         vs.                                        )
            14                                                      )
                                                                    )
            15                                                      )
                 MICHAEL WAYNE BLANCHE, et. al.                     )
            16                                                      )
                                                Defendant.          )
            17                                                      )
            18
                          It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
            19
                  AMERICA, through its counsel of record, William S. Wong, Assistant United States Attorney,
            20

            21
                  and defendant, JAVARIS TUBBS , through his counsel of record, Steve Bauer, and MICHAEL

            22    WAYNE BLANCHE, through his counsel of record, Joseph J. Wiseman, and without objection
            23    from the United States Probation Officer assigned to this case, that the sentencing of defendants
            24
                  now scheduled for November 1, 2006 at 9:00 a.m., be rescheduled to November 29, 2006
            25
                  at 9:00 a.m.
            26

            27    ///

            28    ///

                                                                     1
                  _________________________________________________________________________________________________
                  Stipulation and Order to Continue Sentencing                                      CR. S-05-00243 WBS



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                 Case 2:05-cr-00243-WBS-CKD Document 103 Filed 10/26/06 Page 2 of 2


             1            The parties are requesting this continuance because they need additional time to prepare
             2    the case for sentencing.
             3    Dated: October 24, 20066                       Respectfully submitted,
             4
                                                                 JOSEPH J. WISEMAN, P.C.
             5

             6
                                                                 By: __/s/Joseph J. Wiseman__________________
             7                                                          JOSEPH J. WISEMAN
                                                                        Attorney for Defendant
             8
                                                                        MICHAEL WAYNE BLANCHE
             9

            10

            11
                  Dated: October 24, 2006                        By: __/s/ Steve Bauer__________________
                                                                        STEVE BAUER
            12                                                          Attorney for Defendant
                                                                        JAVARIS TUBBS
            13

            14
                  Dated: October 24, 2006                        By: __/s/William S. Wong__________________
            15                                                          WILLIAM S. WONG
                                                                        Attorney for Plaintiff
            16
                                                                        UNITED STATES OF AMERICA
            17

            18

            19

            20                                                   ORDER

            21            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
            22    sentencing of defendants MICHAEL WAYNE BLANCHE and JAVARIS TUBBS in the above-
            23    captioned case shall be continued to December 6 2006 at 9:00 a.m.
            24
                  Dated: October 25, 2006
            25

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            27

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                                                                     2
                  _________________________________________________________________________________________________
                  Stipulation and Order to Continue Sentencing                                      CR. S-05-00243 WBS



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